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UNITED sTATEs DISTRICT coURT w "
wEsTERN DIsTRIcT oF TENNESSEE

WESTERN DIVISION

   

MARCUS ASKEW,

Petitioner,
v. Cv. No. 04-2235-Ma
DAVID MILLSl Warden, et al.,

Respondents.

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Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance with the Order Granting Respondents' Motion to Dismiss,
docketed April 22, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 10 in
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Honorable Samuel Mays
US DISTRICT COURT

